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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION

  PATRICK BASS and JOCELYN BASS, )
                                  )
       Plaintiffs,                )
                                  )
  v.                              )                    CIV. ACT. NO. 1:20-cv-7-TFM-M
                                  )
  M/V STAR ISFJORD, GRIEG STAR    )
  SHIPPING II AS and G2 OCEAN AS, )
                                  )
       Defendants.                )

                                              ORDER

         Pending before the Court is the Joint Motion for Status Conference filed by all parties (Doc.

  134, filed 07/25/23). The parties move the Court to set a status conference to discuss procedural

  matters related to the trial set for October 23, 2023 through November 9, 2023. The motion is

  GRANTED and this matter is SET for a status conference via video teleconference on August 1,

  2023 at 9:00 a.m.

         The Clerk of Court is DIRECTED to provide the parties with instructions for accessing

  the video teleconference.

         DONE and ORDERED this the 25th day of July 2023.

                                                       s/Terry F. Moorer
                                                       TERRY F. MOORER
                                                       UNITED STATES DISTRICT JUDGE




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